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    8                                      UNITED STATES DISTRICT COURT

    9                                    CENTRAL DISTRICT OF CALIFORNIA

   10

   11       UNITED STATES OF AMERICA,                        )        ,~ ` ~~ j~~C~~
                                                                         l
   12                                        Plaintiff,      )

   13                               v.                       )ORDER OF DETENTION AFTER HEARING
                                                                 (18 U.S.C. § 3142(1))
   14

   15
              r-~~~
               /
               ' "`~
                     ~~~4~~ Defendant.
                            ~ ~rn~.v)  ~
   16

   17 1                                                          I.
   18 I           A.()On motion of the Government involving an alleged

   19 ~,              1.() crime of violence;
   20                 2. ( )offense with maximum sentence of life imprisonment or death;

  21 '~               3. { )narcotics or controlled substance offense with maximum sentence of ten or more

   22                        years (21 U.S.C. §§ 801,/951, et. eus     ,/955a);
   23                 4.() felony -defendant convicted of two or more prior offenses described above;

   24                 5.() any felony that is not otherwise a crime of violence that involves a minor victim, or

   25                        possession or use of a firearm or destructive device or any other dangerous weapon,
   26                        or a failure to register under 18 U.S.0 § 2250.

   27             B.(~n motion (~bythe Government)/()(by the Court sua ~s onte involving)

   28       ///

                                         ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

           ~ CR-94 (U6~07)                                                                                  Page 1 of 3
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    1            1. (~rious risk defendant will flee;                                                                ~

   2             2.() serious risk defendant will

   3                   a.() obstruct or attempt to obstruct justice;

   4                   b. O threaten, injure, or intimidate a prospective witness or juror or attempt to .do so.

   5                                                         II.

   6        The Court finds no condition or combination ofconditions will reasonably assure:

   7        A. (~pearance of defendant as required; and/or

   8        B, ( )safety of any person or the community.

   9                                                         III.
   10       The Court has considered:
   11       A. (~'f~ie nature and circumstances ofthe offense, including whether the offense is a crime of
   12            violence, a Federal crime ofterrorism, or involves a minor victim or a controlled substance,

   13            firearm, explosive, or destructive device;
   14       B. (~he weight of evidence against the defendant;
   15       C.(        the history and characteristics of the defendant;
   16       D. (~he nature and seriousness of the danger to any person or to the community.
   17                                                       IV.
   18       The Court concludes:
   19       A. ()Defendant poses a risk to the safety of other persons or the community because:
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  27 ///                                                                                                             i
  28 //l

                                     ORDER OF DETENTIOtV AFTER NEARING(18 U.S.C. §3142(1))

        CR-94(06/07)                                                                                   Paee 2 of 3
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    1          B.(~istory and characteristics indicate a serious risk that defendant will flee because:

   2 '                        N'~d~i /7'r✓~             ~/Z.~'                 del      ~           ~i       ~

   3                      yl, ~- ~                                                       ,~~--~
   4                             /.

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   8           C.() A serious risk exists that defendant will:

   9                      1.() obstruct or attempt to obstruct justice;

  10                      2.() threaten, injure or intimidate awitness/juror, because:
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  17           D. (}Defendant has not rebutted by sufficient evidence to the contrary the presumpti
                                                                                                                   on
  18                      provided in 18 U.S.C. § 3142(e).
  19           IT IS ORDERED that defendant be detained prior to trial.
  20           IT IS FURTHER ORDERED that defendant be confined as far as practicable
                                                                                                         in a corrections
  21       facility separate from persons awaiting or serving sentences or persons held pending
                                                                                                           appeal.
  22           IT IS FURTHER ORDERED that defendant be afforded reasonable opportunity
                                                                                       for private
  23       consultation with his counsel.
  24
                                                                                               ~.
  25

  26 I'~, DATED:~~~—
                                                    U.S. MATGISTR.ATE /DISTRICT JUDGE
  27

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                                       ORDER OF DETENTION AFTER HEARING (18 U.S.C. §314Z(i))

        ~ CR-94 {06/07)                                                                                          o~.,,. z „r z
